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                                                      United States Department of Justice
                                                      United States Attorney’s Office
                                                      Western District of Texas - El Paso Division

ANNA E. ARREOLA                                700 E. San Antonio Ave, Suite 200   Phone: (915) 534-6884
ASSISTANT UNITED STATES ATTORNEY               El Paso, Texas 79901                Anna.Arreola@usdoj.gov


                                                   July 1, 2025

Certified Mail No. 9590 9402 9197 4225 4981 05
Return Receipt Requested

Matthew Andrew Garces
5150 Broadway Street, PMB #476
San Antonio, TX 78209-5710

        RE:     Matthew Andrew Garces v. Fred Biery et al., SA-25-CV-609-OLG

Dear Mr. Garces:

       I hope this message finds you well. I am an Assistant U.S. Attorney in the Civil Division
of the U.S. Attorney’s Office for the Western District of Texas, El Paso Division. I have been
assigned to represent the Honorable Fred Biery, U.S. District Judge, in this action.

        Our records indicate that the United States and Judge Biery have not been served in
compliance with the Federal Rules of Civil Procedure. Under Federal Rule of Civil Procedure
4(i)(3), service on a federal officer or employee sued in an individual capacity requires service
both on the United States in accordance with Rule 4(i)(1) and on the officer or employee in
accordance with Rule 4(e). To effect service, strict compliance with the Federal Rules of Civil
Procedure is required.

        Pursuant to Rule 4(i)(1)(A), service on the United States requires delivering a copy of the
summons and the complaint or sending a copy of the summons and the complaint by registered or
certified mail to the United States Attorney for the Western District of Texas in San Antonio, c/o
Civil Process Clerk, Office of the United States Attorney, 601 N.W. Loop 410, Suite 600, San
Antonio, Texas 78216. A copy of the summons and complaint must also be sent by registered or
certified mail to the Attorney General of the United States in Washington, D.C. pursuant to Rule
4(i)(1)(B). Pursuant to Rule 4(a), the summons must be signed by the Clerk of Court.

       Pursuant to Rule 4(e)(2)(C), service on an individual may be made by delivering a copy to
an agent authorized by appointment to receive service of process.

       As of this writing, the United States and Judge Biery have not been served with process in
accordance with the Federal Rules of Civil Procedure. However, Judge Biery has agreed to
designate me under Federal Rule of Civil Procedure 4(e)(2)(C) as his agent for service of process.
As such, you should not attempt to serve Judge Biery personally. I, Anna Arreola, will accept
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service on behalf of Judge Biery by certified mail to my office at 700 E. San Antonio, Suite
200, El Paso, Texas 79901. As noted above, proper service requires a copy of a summons signed
by the Clerk of Court and a copy of the complaint.

        The sixty-day answer period for a federal officer or employee sued in an individual capacity
does not begin to run until you have properly served the individual and the United States Attorney
in accordance with Rule 4. See Federal Rules of Civil Procedure 12(a)(3). An individually-named
federal defendant may respond up to sixty days from service on the United States Attorney or sixty
days from service on the individual, whichever is later. Defendant does not waive any defenses
regarding improper service of process.

        Finally, in an effort to ensure that there are no miscommunications, I respectfully request
that our communications be in writing.

                                                     Sincerely,

                                                     JUSTIN R. SIMMONS
                                                     UNITED STATES ATTORNEY

                                               By:    /s/ Anna E. Arreola
                                                     ANNA E. ARREOLA
                                                     Assistant United States Attorney
cc:    U.S. District Clerk’s Office
